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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

              v.                                   Criminal No. 19-cr-18-ABJ
 ROGER J. STONE, JR.,

                                Defendant.


                                               ORDER

       Upon consideration of the Government’s Motion for and Order to Show Cause and For a

Hearing, and for good cause having been shown, it is this ______ day of June, 2019, hereby

       ORDERED, that the Motion is GRANTED; it is further

       ORDERED, that the parties must appear before the Court on the ____ day of June, 2019,

at ______ to show cause why the Court should not modify the conditions of release or otherwise

modify the media contact order in this case.

       IT IS SO ORDERED.

                                                   _________________________________
                                                   AMY B. JACKSON
                                                   U.S. DISTRICT COURT JUDGE
                                                   DISTRICT OF COLUMBIA
